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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION
                        _____________________________________

MICHEL SOUZA MEDEIROS, et al.,

       Plaintiffs,

v.                                                   Civil Action No. 3:22-cv-00723-G

UNITED STATES CITIZENSHIP AND
IMMIGRATION SERVICES, et al.,

       Defendants.

              DEFENDANTS’ UNOPPOSED MOTION FOR AN
        EXTENSION OF TIME TO ANSWER OR OTHERWISE RESPOND

       In this case, Plaintiffs seek a writ of mandamus to compel U.S. Citizenship and

Immigration Services (USCIS) to adjudicate a Form I-140, “Immigrant Petition for Alien

Workers,” and Forms I-485, “Application to Register Permanent Residence or Adjust

Status.” See Doc. 1 at 2, 6–7. Pursuant to Federal Rule of Civil Procedure 6(b)(1)(A),

Defendants respectfully move the Court for a 75-day extension of time to answer or

otherwise respond to the complaint, which would extend the response deadline from June

3, 2022 to August 17, 2022. The reason for this extension request is that, on April 20,

2022, USCIS issued a request for evidence to Plaintiff Michel Souza Medeiros in

connection with the Form I-140. A response to the request for evidence is due by July

18, 2022, which constitutes the maximum period allowed for responding to requests for

evidence. See 8 C.F.R. § 103.2(b)(8)(iv) (“The request for evidence . . . will indicate the

deadline for response, but in no case shall the maximum response period provided in a


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request for evidence exceed twelve weeks . . . .”).1 Upon receipt of a response to the

request for evidence, USCIS will resume processing the applications at issue. USCIS

expects that, by August 17, 2022, it will have either completed adjudicating the

applications, rendering the lawsuit moot, or at least be in a significantly better position to

determine what additional steps may be necessary before completing adjudication.

Plaintiffs do not oppose this extension request. Therefore, Defendants respectfully move

the Court for a 75-day extension of time to answer or otherwise respond to Plaintiffs’

complaint, from June 3, 2022 to August 17, 2022.

                                                               Respectfully submitted,

                                                               CHAD E. MEACHAM
                                                               UNITED STATES ATTORNEY

                                                               /s/ Lisa R. Hasday
                                                               Lisa R. Hasday
                                                               Assistant United States Attorney
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                                                               Attorneys for Defendants




1
  Defendants note that, in response to the Covid-19 pandemic, USCIS has extended flexibilities for responding to
agency requests and, before taking any action, the agency will consider a response to a request for evidence that is
received within 60 calendar days after the response due date set in the request. See
https://www.uscis.gov/newsroom/alerts/uscis-extends-flexibility-for-responding-to-agency-requests-1.


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                                        Certificate of Conference

       I certify that, on May 26, 2022, I conferred with Plaintiffs’ counsel regarding this

motion, and counsel stated that Plaintiffs do not oppose the motion.

                                                      /s/ Lisa R. Hasday
                                                      Lisa R. Hasday
                                                      Assistant United States Attorney




                                      Certificate of Service

       On May 26, 2022, I electronically submitted the foregoing document with the

Clerk of Court for the U.S. District Court, Northern District of Texas, using the electronic

case filing system of the court. I hereby certify that I have served all parties

electronically or by another manner authorized by Federal Rule of Civil Procedure

5(b)(2).

                                                      /s/ Lisa R. Hasday
                                                      Lisa R. Hasday
                                                      Assistant United States Attorney




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